                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA

JEANETTA AND JACOB C.                       )
SPRINGER,                                   )
                                            )
      Plaintiffs,                           )
                                            )
v.                                          )      CV NO. 2:17-CV-693-MHT
                                            )
WELLS FARGO BANK, N.A., et al.,             )
                                            )
      Defendant.                            )



       WELLS FARGO’S REPLY TO PLAINTIFFS’ RESPONSE IN
              OPPOSITION TO MOTION TO DISMISS


      Defendant Wells Fargo Bank, N.A. (“Wells Fargo”) Replies to Plaintiffs

Jeanetta and Jacob Springers’ Response in Opposition to Wells Fargo’s Motion to

Dismiss (Doc. 21). The Springers’ Response failed to establish that their

Complaint contains a viable claim for relief. Thus, the Complaint should be

dismissed.

A.    The Springers’ failure to establish that Wells Fargo is a “state actor”
      precludes their due process claim.

      The Springers’ Response did not address Wells Fargo’s assertion that their

due process claim fails because Wells Fargo is not a “state actor.” (See generally,

Doc. 21.) Without well-pleaded facts establishing that Wells Fargo is a “state

actor” who engaged in conduct that violated the Constitution, the Springer’s due
process claim should be dismissed. See Hughes v. Meadows, 2017 WL 3083257,

*3 (M.D. Ala. July 19, 2017).

B.    Rooker-Feldman and Res Judicata bar the Springers’ claims.

      The Springers’ Response further failed to demonstrate that their claims

survive the application of the Rooker-Feldman doctrine or res judicata. Thus, the

Complaint should be dismissed.

      Within its Motion to Dismiss, Wells Fargo argued that the Springers’ current

claims are an attempt to obtain judicial review of a state court judgment in Wells

Fargo’s favor. (See Doc. 11, pp. 8-10.) Consequently, the Rooker-Feldman

doctrine prevents this Court from evaluating the Springers’ claims. See Williams v.

Adkinson, 792 F. Supp. 755 (M.D. Ala. 1992). While the Springers’ Response

attempted to evade the application of Rooker-Feldman as a bar to their claims, it

fell short. The Complaint sought the return of the real property that formed the

basis of the eviction action and their Response attached the promissory note with

SouthTrust Bank in support of their current claims. (See Docs 1, 21 at Ex. A.)

Because the Springers’ claims regarding the loan, the foreclosure, and the eviction

action were litigated to conclusion – on the merits – within Alabama’s appellate

court system, the Springers are mere “state court losers” complaining of injuries

caused by state court judgments. Exxon Mobil Corp. v. Saudi Basic Indus. Corp.,




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544 U.S. 280 (2005). The Rooker-Feldman doctrine prohibits this Court’s review

of the Springers’ claims, and their Complaint should be dismissed as a result.

      The Springers’ claims are further barred by res judicata. Each of the required

elements to apply res judicata are present, here: the Randolph County Circuit

Court’s order in Wells Fargo’s favor was a final judgment, on the merits, issued by

a court of competent jurisdiction. The parties to this action and the eviction case

are identical. And, the Springers have asserted identical causes of action in both

cases, namely that the foreclosure sale of the property securing the loan was

wrongful. More importantly, any attempt by the Springers to assert new causes of

action arising from the foreclosure sale would also be barred by res judicata, as the

claims arise from the same set of operative facts. See Smith v. Wells Fargo Bank,

N.A., 2017 WL 3882525, at *4 (M.D. Ala. Aug. 15, 2017). Accordingly, the

Springers’ claims are barred and should be dismissed.

                                 CONCLUSION

      The Springers’ Complaint failed to state a viable claim for relief against

Wells Fargo. As established within Wells Fargo’s Motion to Dismiss and herein,

the Springers’ due process claim fails in the absence of state action. Their

remaining claims are precluded from review under the Rooker-Feldman doctrine

and are barred by res judicata. The Springers’ claims against Wells Fargo should

be dismissed.


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    Respectfully submitted the 20th day of December, 2017.



                                  /s/ Catherine C. Long
                                  CATHERINE C. LONG
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                                  Bank, N.A.

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                        CERTIFICATE OF SERVICE

       I hereby certify that on December 20, 2017, the foregoing has been served
upon the following via this Court’s electronic filing system and U.S. First Class
mail, postage prepaid, as follows:

Mrs. Jeanetta Springer and
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                                     /s/ Catherine C. Long
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